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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,        )
                                            )
                                            )
             Plaintiff,                     )
                                            )
 v.                                         )   Case No. 4:17-cv-00454-GKF-jfj
                                            )
 1) CASTLE HILL STUDIOS LLC                 )         REDACTED
    (d/b/a CASTLE HILL GAMING);             )
 2) CASTLE HILL HOLDING LLC                 )
    (d/b/a CASTLE HILL GAMING); and         )
 3) IRONWORKS DEVELOPMENT, LLC              )
    (d/b/a CASTLE HILL GAMING)              )
                                            )
             Defendants.                    )

           PLAINTIFF VIDEO GAMING TECHNOLOGY INC.’S OPPOSITION
            TO DEFENDANTS’ MOTION TO CHALLENGING PLAINTIFF’S
                DESIGNATIONS UNDER THE PROTECTIVE ORDER
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   legitimate basis for the information it seeks to “declassify.” This omission is unsurprising: As

   discussed below, during meet-and-confer correspondence, VGT repeatedly asked CHG to state

   why it was challenging the confidentiality designations, but CHG steadfastly refused to give a

   reason.

             The reason for CHG’s silence on this issue is that its apparent purpose has nothing to do

   with this litigation. Rather, its efforts appear to be tied to its (so far unsuccessful) efforts to

   persuade the National Indian Gaming Commission (“NIGC”) through the so-called “Coalition

   for Fair Gaming” to take action on the same issues it raises here concerning compliance with

   minimum technical standards. Tellingly, when asked whether CHG intends to share the

   challenged information from this litigation with regulators, testing labs, or employees at CHG,

   CHG’s “outside inside counsel,” Mr. Jacobs 2—whose firm, Zobrist Law Group, appears to be

   involved in the efforts to lobby the NIGC and filed this Motion despite not having appeared on a

   brief since CHG hired the Saul Ewing firm to serve as litigation counsel—stated that he has “no

   idea.” Ex. I at 7 (email chain containing Dec. 17, 2018 email from G. Rubman summarizing

   meet and confer). 3 When pressed further, CHG’s counsel stated that CHG’s reasons for

   challenging the designations are “completely irrelevant” and that it “does not matter why [CHG]

   is challenging the designations.” Id. But that is not so. Under the Protective Order, subject to

   limited exceptions not applicable here, “all documents and other materials produced in this

   litigation shall be used only for purposes of this litigation” whether or not the documents and

   materials were designated as confidential. Dkt. 55 ¶ 1(g).



   2
       See infra at Section II.C.
   3
    Citations to Exhibits A-I are to exhibits submitted in support of the Motion. Citations to
   Exhibit 1-13 are to exhibits to the Declaration of Gary Rubman, submitted in support of this
   opposition.


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          The lobbying communications suggest that CHG’s true purpose in seeking these

   materials has never been about defending against VGT’s trademark and trade dress claims. In

   statements directly contrary to what CHG has told this Court in seeking to shoehorn the NIGC

   issues into affirmative defenses to those claims, CHG (through its coalition) has told the NIGC

   that the minimum technical standards “do not touch games, themes, or the ‘look and feel’ of a

   machine”—i.e., the aspects of the games that make up the asserted trademarks and trade dress.

   Ex. 1 at 4 (Dec. 11, 2017 letter to NIGC). This admission not only calls into question CHG’s

   basis for injecting this issue into the lawsuit, but it suggests that CHG is trying to use this

   motion, and the litigation more generally, to achieve through this Court what it has been unable

   to achieve from the NIGC directly.

          With respect to the merits of the designations, CHG also is wrong. All the challenged

   testimony and documents reflect confidential information about VGT’s business and thus meet

   the requirements for designation under the Protective Order. Indeed, CHG’s efforts to obtain a

   competitive advantage by lobbying the NIGC on issues relating to the minimum technical

   standards (including issues relating to whether games could be grandfathered) supports VGT’s

   position that the challenged testimony and documents are properly designated as confidential, as

   do CHG’s own designations of similar testimony and documents.

   II.    BACKGROUND

          This is an intellectual property case about longtime VGT officials who left to start a new

   gaming company, CHG, where they hired other VGT employees and began marketing and

   selling games that bear unmistakable similarities—in both appearance and gameplay—to VGT’s

   most popular games. VGT asserts that CHG has infringed VGT’s trademarks (including the

   symbols and artwork surrounding VGT’s games), that CHG has infringed VGT’s trade dress (the

   overall look and feel of VGT’s games and gaming machines), and that CHG has misappropriated


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   has proceeded with this Motion in which it challenges the confidentiality designations of a small

   portion of the transcripts and exhibits, necessitating this response.

          B.      CHG’s Parallel Efforts to Lobby the NIGC on Issues Relating to the
                  Minimum Technical Standards.

          At the same time CHG has been obtaining in this litigation discovery regarding VGT

   compliance with NIGC minimum technical standards (although refusing to explain what it

   intends to do with the information that it now seeks to de-designate, see infra at Section II.C),

   CHG has been lobbying the NIGC on similar issues. CHG’s lobbying of the NIGC appears to be

   through an organization called “The Coalition for Fair Gaming” formed by Richard Dreitzer, an

   attorney based in Las Vegas. See http://www.fairnessfight.com (last visited on Feb. 6, 2019).

   On November 13, 2017, Mr. Dreitzer submitted comments on behalf of The Coalition for Fair

   Gaming to NIGC seeking to convince the NIGC that the grandfathering provisions should be

   allowed to expire in November 2018. See Ex. 5 (available at http://www.fairnessfight.com) (the

   “November 13 letter”). On December 11, 2017, Mr. Dreitzer, again on behalf of The Coalition

   for Fair Gaming, submitted a second letter to NIGC on the same topic. See Ex. 1 (available at

   http://www.fairnessfight.com) (the “December 11 letter”). The December 11 letter directly

   attacked VGT with regard to the grandfathering provisions. See id. at 6.

          There is little doubt that CHG played a key role behind the scenes in connection with Mr.

   Dreitzer’s lobbying efforts. Indeed, an early draft of the November 13 letter posted on the

   coalition’s website contains at least two references to “Jason,” who was providing information in

   support of the letter. See Ex. 6 at 6, 7 (available at http://www.fairnessfight.com/wp-

   content/uploads/2017/10/NIGC_Letter.pdf) (last visited Feb. 6, 2019). This appears to be a

   reference to Jason Sprinkle, a senior CHG executive who previously was at VGT and is a central




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  a single confidentiality designation of any document or witness testimony relating to trademark,

  trade dress, or trade secret issues.

          As part of its efforts to resolve the present dispute, VGT repeatedly asked CHG to

  explain its reasons for challenging the designations of Mr. Williamson’s testimony, including

  what CHG intends to do with the information. 10 Notwithstanding the requirement in the

  Protective Order that documents and testimony provided during discovery “shall be used only for

  purposes of this litigation,” Dkt. 55 ¶ 1(g), CHG has steadfastly refused to provide an

  explanation. See Ex. I at 5 (“About our reasons for challenging these designations, I repeated

  what I have said over and over again in our email communication on this topic: our process for

  challenging the designations are not relevant under the protective order. Nor is it relevant

  whether I have a plan about what to do with the information.”) (Dec. 17, 2018 email from J.

  Jacobs); id. at 7 (CHG’s reasons for challenging the designations “are completely irrelevant” and

  it “does not matter why [CHG] is challenging the designations”) (Dec. 17, 2018 email from G.

  Rubman summarizing meet and confer); id. (Mr. Jacobs asserting that they “don’t have a plan”

  as to what CHG intends to do with the information and that he has “no idea” whether CHG’s

  intends to share the information with regulators, testing labs, or employees at CHG). 11




  10
     In an effort to understand CHG’s seemingly inconsistent approach to confidentiality
  designations, VGT asked CHG on December 12 to explain its basis for designating the entirety
  of the testimony of a key CHG witness (Mr. Sprinkle), as well as every exhibit used in his
  depositions, as Highly Confidential. See Ex. 4. Although nearly two months have passed, CHG
  has not yet done so. On January 25, 2019, VGT received an email from CHG’s litigation
  counsel at Saul Ewing explaining that they are reviewing Mr. Sprinkle’s testimony and exhibits,
  but that it will take them “roughly ten days to complete this task given other obligations.” Ex. 9
  at 1. CHG still has not completed this task or given an update on when it will do so.
  11
    See also Ex. 2 at 1 (“[T]he ‘why’ of our process does not matter under the protective order.”)
  (Nov. 20, 2018 email from J. Jacobs); Ex. 10 at 1 (“I do not believe our process for determining
  when and which designations to challenge is at all relevant under the protective order.”) (Dec.
  12, 2018 email from J. Jacobs).


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         CHG’s refusal to explain its reasons for challenging the confidentiality designations of

  Mr. Williamson’s testimony, as well as what it intends to do with the information, is made more

  troubling by the fact that this entire dispute is being handled by an attorney who CHG’s current

  litigation counsel introduced to the Court at a hearing as CHG’s “outside in-house counsel.” Ex.

  11 at 40 (“Mr. Jacobs and his firm basically serve as outside in-house counsel for this client.”).

  Although CHG’s litigation counsel (the Saul Ewing firm) appears in the signature block of the

  motion, Mr. Jacobs and a colleague at the Zobrist Law Group signed the motion. See Mot. at 14.

  Moreover, Mr. Jacobs has handled all communications relating to this issue, and the Saul Ewing

  firm did not participate in the meet and confer. With the exception of early in the case before

  Saul Ewing was retained as CHG’s litigation counsel, and consistent with the representations

  previously made to this Court, Mr. Jacobs and his firm have functioned throughout the case in a

  role more akin to that of in-house counsel; among other things, they have attended hearings and

  depositions, but have not taken or defended a single deposition. Indeed, with the exception of

  the present Motion, their names have not appeared on a single brief that CHG has submitted to

  the Court since Saul Ewing was retained in October 2017 to represent CHG. In fact, CHG

  represented to the Court at that time that the Zobrist Law Group would be withdrawing from the

  case. See Dkt. 44 ¶ 2. They never did so and, therefore, remain counsel of record for CHG and

  in that role have unfettered access to VGT’s confidential information.

         Tellingly, when asked to explain why the Saul Ewing firm was not participating in the

  meet and confer process relating to this issue, Mr. Jacobs explained that it was because the

  insurance company is paying the Saul Ewing firm’s fees. See Ex. I at 7-8 (Dec. 17, 2018 email

  from G. Rubman summarizing meet and confer). That CHG is using its “outside in-house

  counsel” (as opposed to its litigation counsel) for this dispute and is willing to pay for the costs




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  of this dispute on its own (presumably because the insurance company would not do so) raises

  further concerns about CHG’s motivations.

  III.   ARGUMENT

         As CHG acknowledges, “the ‘good cause’ standard of Rule 26(c) governs” this dispute

  over confidentiality designations. Mot. at 7 (internal quotation omitted). That standard requires

  “balanc[ing] the need for discovery of the trade secrets against the claim of injury resulting from

  disclosure.” Sears v. Nissan Motor Co., 932 F.2d 975, at *2 (10th Cir. 1991) (unpublished)

  (citing Centurion Indus., Inc. v. Warren Steurer & Assocs., 665 F.2d 323, 325 (10th Cir. 1981).

  Accord Oklahoma v. Tyson Foods, Inc., No. 05-CV-329-GKF-PJC, 2009 WL 10271835, at *3

  (N.D. Okla. Mar. 11, 2009). Although VGT bears the burden to show that the information is

  confidential and that its disclosure would be harmful, the burden is on CHG “to establish that

  disclosure of a trade secret or other confidential information is relevant and necessary to the

  action.” Sears, 932 F.2d at *2. These competing interests must be weighed “against the

  background of the total situation, including consideration of such factors as the dangers of abuse,

  good faith, adequacy of protective measures, and the availability of other means of proof.” Id.

         CHG’s Motion does not undertake this balancing analysis; to the contrary, it does not

  identify any reason for requiring broader access to the challenged testimony and documents.

  CHG offers only aspersions about VGT’s conduct and generalized arguments that disregard the

  plainly confidential nature of the information. The Motion is a transparent attempt to smear

  VGT in the public eye 12 and to support its separate efforts to lobby NIGC on the same issues.




  12
    The public version of CHG’s Motion leaves unredacted references to “illegal” activity. See,
  e.g., Dkt. 285 at 1, 2, 3, 4, 5, 10, 14.


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          As shown below, all the challenged testimony and documents reflect confidential—and in

  most cases competitively sensitive—information about VGT’s business and thus meet the

  requirements for designation of the Protective Order.

          A.      The Challenged Testimony and Documents Are Properly Designated As
                  Highly Confidential or Confidential Under the Protective Order.

          The Protective Order’s threshold for “Confidential Information” is low. It is information

  that “constitute[s], reflect[s] or disclose[s] trade secret or other confidential research,

  development, or commercial information.” Dkt. 55 ¶ 1(b). “Highly Confidential Information” is

  Confidential Information that “a party, and the party’s counsel, believes to be extremely sensitive

  confidential and/or proprietary information, the disclosure of which, even limited to the

  restrictions placed on Confidential Information in this Order, would compromise and/or

  jeopardize the Supplying Party’s competitive business interests.” Id. ¶ 1(d).

          CHG’s challenge to certain testimony from and exhibits to Mr. Williamson’s depositions

  (“Challenged Material”) is baseless. 13 Mot. at 5–7. As demonstrated below, all the Challenged

  Material meets the definition of “Confidential Information” because it is, at a minimum,

  “confidential . . . commercial information.” Most of the Challenged Material also constitutes

  “Highly Confidential Information” because of its competitive sensitivity.

                  1.      The Challenged Material Includes Highly Sensitive Business,
                          Operational, and Regulatory Information.

          In recklessly accusing VGT of “abus[ing] the protective order,” Mot. at 10, CHG glosses

  over the non-public details about VGT’s business and operations in the Challenged Material.

  VGT does not and would not share this information with its competitors. CHG has no evidence


  13
     In an effort to narrow the issues in dispute, VGT agrees to de-designate and re-designate
  certain of the testimony challenged by CHG. Specifically, VGT will de-designate Nos. 2, 11, 13,
  and 21 in CHG’s Motion (pp. 5–6), and VGT will re-designate No. 12 from Highly Confidential
  to Confidential.


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  to the contrary and presents no cognizable basis for lifting the designations for this information,

  let alone a reason why a different standard should apply to similar information that CHG has

  designated as confidential.

         Operational Data (Nos. 3–7, 16–20, 22, 23, 27–29). 14 A significant portion of the

  Challenged Material discusses confidential data about the number and make-up of VGT games

  on casino floors over time (e.g., number of three-reel mechanical games and number of

  grandfathered games).

         Because VGT keeps this information confidential, see Declaration of Robert Schramer ¶

  2 (“Schramer Decl.”); Declaration of Richard Williamson (“Williamson Decl.”) ¶¶ 4–7, it

  qualifies as Confidential under the Protective Order.

         It also constitutes Highly Confidential information. VGT uses this operational data to

  make business decisions, and if it were disclosed to its competitors, including CHG, those

  competitors could similarly use it to gain advantages in the marketplace. 15 See Schramer Decl. ¶

  3; Williamson Decl. ¶ 8.

         CHG cites no evidence that VGT publishes any of this VGT-specific data, and CHG’s

  suggestion that someone could independently count the “number of EGMs VGT has on casino

  floors,” Mot. at 10, is inapt. For one, CHG mischaracterizes the data at issue, which consists of

  details and averages not ascertainable to someone visiting a casino (e.g.,

                                                                                   ). And even if the

  data could theoretically be compiled if someone visited the more than 100 casinos that host VGT



  14
    This Opposition refers to the testimony and exhibits using the numbers in CHG’s Motion (pp.
  5–7). Some items fall within more than one category in this section.
  15
    Certain of the challenged testimony (Nos. 22 and 23) discusses a Highly Confidential
  spreadsheet whose designation CHG does not challenge. (See Ex. 12.)


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  games, Schramer Decl. ¶ 4, that would not preclude trade secret protection in light of the time

  and resources that would be required. See 1 Roger M. Milgrim & Eric E. Bensen, Milgrim on

  Trade Secrets § 1.07A (2018) (“The question of independent economic value often arises where

  the purported trade secret is a combination of publicly-available information, but if a competitor

  would have to incur considerable expense to recreate the combination, generally such a

  combination will be found to have independent economic value.”). CHG has no evidence that

  anyone outside VGT has actually done this analysis, let alone published the results.

                                                (Nos. 3–7, 16–19, 27–29). Certain of the challenged

  testimony and exhibits discuss

                                  (supra n. 5). VGT keeps the details of these efforts confidential, as

  indicated in the “Proprietary & Confidential Information” label in the two VGT presentations

  CHG seeks to de-designate. 16 See Declaration of Richard Williamson ¶¶ 4–7 (“Williamson

  Decl.”); see also Exs. B, E. If known to a VGT competitor, this information could allow the

  competitor to alter its plans (e.g.,

                         ) in an attempt to compete with VGT. See Williamson Decl. ¶ 8. Indeed,

  CHG has already attempted to capitalize on the existence of VGT’s grandfathered games to

  improve its position in the market. See Ex. 6 at 7. Thus, not only is the information

  Confidential, but it is also Highly Confidential.

          CHG’s argument that “[i]t should not qualify as confidential commercial information or a

  trade secret that a business regulated by the NIGC tries to comply with NIGC regulations,” Mot.




  16
    Two of the other exhibits consist of natively produced data associated with the presentations.
  Exs. C, F; see also Williamson Decl. ¶ 6. The fifth and final exhibit is a document prepared for
  Mr. Williamson’s Rule 30(b)(6) deposition that
                    Ex. D; see also Williamson Decl. ¶ 7.


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  at 10, misses the point.




         Regulatory Process and Submissions (Nos. 1, 8–10, 14, 15, 20, 24–26). CHG challenges

  testimony discussing the steps VGT has taken to obtain certification for its games, including the

  confidential submissions made to independent testing laboratories as well as VGT’s

  understanding of the regulatory requirements.

         VGT treats these regulatory efforts as confidential business information because, if

  known to competitors (actual or potential), they could provide those competitors an advantage in

  seeking certification for their games. See Williamson Decl. ¶¶ 2–3. Moreover, this information

  meets the definition of Highly Confidential because, similar to the previous category, CHG could

  use this proprietary information about VGT’s games to promote CHG’s products to the detriment

  of VGT. See id.

         Notably, CHG does not appear to dispute that the testing lab submissions themselves are

  confidential, having failed to challenge any designations of VGT’s submissions—including the

  submission used as an exhibit in Mr. Williamson’s October 2, 2018 deposition. Ex. 13,

  Williamson Dep., Oct. 2, 2018, Ex. 105. That submission states that the “information contained

  herein is confidential and proprietary information of VGT” and “may not be disclosed to any

  third party without the prior written consent of VGT.” Id. at VGT0001949. CHG, however,

  inexplicably challenges Mr. Williamson’s testimony about this confidential submission. See Ex.

  H at 25:16–27:19 (No. 10). CHG’s argument is inconsistent with its own designation of




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  documents and testimony concerning testing lab and regulatory submissions as Highly

  Confidential, including documents revealing that

                                                               See, e.g., Dkt. 74, Ex. H

                                                                                           ; Dkt. 74,

  Ex. P (CHG testing lab submissions).

         Although CHG suggests that the challenged testimony is largely limited to Mr.

  Williamson’s interpretation of the regulations, Mot. at 9 (discussing Nos. 8–10, 12, and 15), most

  describes measures VGT has undertaken to comply with the regulations—not some abstract

  discussion of them. Nor does this testimony amount to a bare statement “[t]hat VGT read the

  regulations and applied for grandfathered status.” Id. Rather, it details how VGT did so.

         CHG is also wrong that VGT’s interpretation of the regulations is not confidential

  business information. 17 Regulated entities, including VGT, often invest in understanding

  regulations and developing compliance programs based on that understanding, and VGT

  typically keeps such compliance information confidential. See Williamson Decl. ¶ 2. Although

  CHG implies that VGT does not have such a program, Mot. at 8, VGT has

                          responsible for ensuring that VGT complies with applicable law and

  regulations, Ex. G at 23:22–28:6.




  17
     Although CHG repeatedly refers to “Mr. Williamson’s interpretation of regulations,” e.g., Mot.
  at 9 (emphasis added), most of the challenged testimony comes from his Rule 30(b)(6)
  deposition, in which Mr. Williamson was testifying to the company’s knowledge.


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                 2.      The Material Could Be Used—Improperly—in an Effort to Damage
                         VGT’s Reputation and Relationships.

         Unable to credibly dispute that the Challenged Material is, at a minimum, confidential

  commercial information, CHG resorts to arguing, both repeatedly and prejudicially, that “[t]he

  Protective Order is not designed to hide a party’s illegal activity.” Mot. at 10.

         But there has been no finding of illegal activity—not by a court, a regulatory body, or any

  of the testing laboratories that certify VGT’s games. There is only an allegation by CHG—an

  allegation that VGT denies in the strongest possible terms. But the fact that CHG has so

  aggressively pursued accusations of illegality in this litigation—despite having no bearing on

  VGT’s intellectual property claims—further supports maintaining the designations.

         Notwithstanding CHG’s ongoing refusal to identify a reason for bringing this challenge,

  it is clear that CHG believes that this information will be damaging if made public. CHG might

  even try to inflict the damage itself—for example, by using the information to persuade

  customers not to lease VGT’s games or by trying to convince federal and tribal regulators that

  VGT’s games are non-compliant. Even if these efforts are unsuccessful, they would force VGT

  to incur expense and would likely damage VGT’s reputation and customer relationships.

  Williamson Decl. ¶ 2. This further supports maintaining the designations. See Littlebear v.

  Advanced Bionics, LLC, No. 11-CV-418-GKF-PJC, 2012 WL 2979023, at *2 (N.D. Okla. July

  20, 2012) (observing that the “United States Supreme Court has recognized it may be appropriate

  to protect a party’s reputation and privacy from potential abuses of discovery”).

         Such maneuvers would not be the first time CHG sought to gain a competitive advantage

  from the NIGC regulations. As discussed in Section II.B, there is evidence indicating that, in

  2017, CHG—acting under the auspices of “The Coalition for Fair Gaming”—lobbied the NIGC

  not to eliminate the sunset provisions for grandfathered games. Exs. 1, 3, 5, 6, 7. CHG’s



                                                   16
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  motivation was clear: “If a manufacturer attempted to pass through compliance costs to any

  tribe, other manufacturers like Castle Hill Gaming stand ready to offer more favorable terms,

  making it cost-neutral for the tribes to have compliant or non-compliant class II machines.” Ex.

  6 at 7. In other words, CHG sought to abolish grandfathered games to create business

  opportunities for itself and to take market share from companies like VGT. Having failed in its

  effort to lobby the NIGC, CHG now seeks to pursue a similar competitive goal using confidential

  discovery obtained in this litigation.

         B.      CHG Fails to Demonstrate Any Need for Lowering or Removing the
                 Confidentiality Designations.

          VGT’s showing that the material falls under the Protective Order is dispositive. CHG

  does not attempt to show that broader disclosure of the challenged material “is relevant and

  necessary to the action.” Sears, 932 F.2d 975, at *2. Nor should CHG be permitted to do so on

  reply, particularly given its repeated refusal to explain its reasons for challenging the

  designations during the meet-and-confer. See supra at Section II.C. Because CHG has failed to

  justify a more expansive disclosure, it is unnecessary to “balance the need for discovery of the

  trade secrets against the claim of injury resulting from disclosure.” Sears, 932 F.2d 975, at *2.

         Nevertheless, CHG’s silence on the reason for singling out designations on this issue is

  troubling. The Protective Order prohibits CHG from using the Challenged Material for non-

  litigation purposes: “Subject to paragraph 13(c), all documents and other materials produced in

  this litigation shall be used only for purposes of this litigation whether or not a Supplying Party

  designates such documents or materials as ‘Confidential,’ ‘Highly Confidential,’ or ‘Highly

  Confidential Source Code.’” Dkt. 55 ¶ 1(g) (emphasis added). As one court in this District has

  explained, this language “serves the distinct purpose of clarifying, at the outset of the protective

  order, that there are certain restrictions on all discovery, ‘whether or not’ the producing party



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  designates the material as confidential.” Ross v. University of Tulsa, 225 F. Supp. 3d 1254, 1262

  (N.D. Okla. 2016); see also id. at 1268 (finding litigant in contempt for using discovery materials

  in violation of such a provision). But this would not necessarily prevent CHG from including the

  material in papers filed publicly with the Court. See id. at 1262.

         Here, CHG cannot credibly claim that it needs the designations removed to litigate the

  issue. Discovery is closed, and the parties have briefed a summary judgment motion on this

  issue, with CHG setting out its argument as to why it contends VGT games are or were non-

  compliant. Dkt. 239 at 32–34. Further, CHG does not ask the Court merely to lower the

  designations to Confidential so that CHG’s outside counsel may discuss the information with its

  client representatives. 18 Rather, CHG’s goal is to remove the designations altogether.

         CHG’s refusal to disclose the motivations behind this challenge raise serious questions,

  particularly given the burden CHG is imposing on the Court and VGT.

         C.      CHG’s Challenge Is Premature.

         Although CHG’s Motion fails on the merits for the reasons discussed above, it also is

  premature for at least two reasons.

         First, VGT has moved for summary judgment on CHG’s unclean hands and illegality

  defenses (Dkt. 179)—the only issues to which the challenged material relates—and a motion in

  limine on this evidence (Dkt. 181). If these motions are granted, none of the challenged material

  would be relevant to the upcoming trial, and there would be no reason to consider the

  confidentiality designations.




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    Also, CHG has never disclosed any company representatives pursuant to Paragraph 4.b.iv of
  the Protective Order. Dkt. 55 at 9. Therefore, CHG’s outside counsel is not permitted to share
  Confidential information with anyone at CHG.


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         Second, there may be further disputes over confidentiality designations as the parties

  prepare for trial. As noted above (n. 10), VGT has asked CHG to consider the Highly

  Confidential designation CHG applied to the entirety of the deposition transcripts of a key

  witness. How CHG applies the Protective Order definitions in the context of its own testimony

  and documents may inform the Court’s consideration of CHG’s Motion, and deciding all such

  disputes at one time may result in efficiencies.

  IV.    CONCLUSION

         For the foregoing reasons, VGT respectfully requests that the Court deny CHG’s Motion.



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                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 7, 2019, I caused the foregoing to be served via ECF on

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